                                  Case 19-16355-AJC                  Doc 1        Filed 05/14/19           Page 1 of 16

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                America-CV Station Group, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  13001 NW 107th Ave.
                                  Hialeah, FL 33018
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 19-16355-AJC                  Doc 1        Filed 05/14/19            Page 2 of 16
Debtor    America-CV Station Group, Inc.                                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                               Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                   are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                   business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                   statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                   procedure in 11 U.S.C. § 1116(1)(B).
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                Case number
                                                  District                                 When                                Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Caribevision Holdings, Inc.                                   Relationship              Parent
                                                             Southern District of
                                                  District   Florida                       When                            Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                                Case 19-16355-AJC                      Doc 1      Filed 05/14/19             Page 3 of 16
Debtor   America-CV Station Group, Inc.                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 19-16355-AJC                   Doc 1        Filed 05/14/19             Page 4 of 16
Debtor    America-CV Station Group, Inc.                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 14, 2019
                                                  MM / DD / YYYY


                             X   /s/ Carlos Vasallo                                                       Carlos Vasallo
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Representative




18. Signature of attorney    X   /s/ Paul J. Battista                                                      Date May 14, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul J. Battista 884162
                                 Printed name

                                 Genovese Joblove & Battista, P.A.
                                 Firm name

                                 100 S.E. 2nd Street
                                 44th Floor
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-349-2300                  Email address


                                 884162 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 5 of 16
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 6 of 16
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 7 of 16
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 8 of 16
                                     Case 19-16355-AJC                   Doc 1        Filed 05/14/19   Page 9 of 16




                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      America-CV Station Group, Inc.                                                               Case No.
                                                                                  Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Representative of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       May 14, 2019                                              /s/ Carlos Vasallo
                                                                       Carlos Vasallo/Authorized Representative
                                                                       Signer/Title




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
    Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 10 of 16


x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




            A & P Electric Service Inc.
            Calle Capri 1505
            Toa Bajas, PR 00953


            ACNielsen Puerto Rico
            117 Eleonor Roosevelt
            3rd Floor
            Hato Rey, PR 00918


            America Teve Network, Inc.
            Attn: Etan Mark, Esq.
            80 SW 8th St.
            Miami, FL 33130


            America-CV Network, LLC
            13001 NW 107th Ave.
            Hialeah, FL 33018


            Apolo Texaco
            Ave. Apolo Esq.
            Mercurio Guaynabo, PR 00960


            ASCAP
            Att: Luis Verges
            Broadcast Licensing Dept.
            One Lincoln Plaza
            New York, NY 10023


            Autoridad de Energia Electrica de PR
            P.O. BOX 363508
            San Juan, PR 00936-3508


            Axesa Servicios de Informacion
            P.O. Box 70373
            San Juan, PR 00936-8373


            BMI
            P.O. Box 637500
            Cincinnatti, OH 45263-7500


            Cafe Yucono
            PO Box 51985
            Toa Baja, PR 00950
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 11 of 16



        City of Hialeah Gardens
        10001 NW 87th Ave.
        Hialeah Gardens, FL 33016


        Corporacion de Fondo de Seguro del Estad
        PO Box 42006
        Minillas Station
        San Juan, PR 00940-2006


        Delaware Division of Revenue
        Bankruptcy Services
        Carvel State Office Buiding
        8th Floor
        Wilmington, DE 19801


        Director of Finance of San Juan
        P.O. BOX 70179
        San Juan, PR 00936


        Dorta & Ortega P.A.
        3860 SW 8th St.
        PH
        Miami, FL 33134


        Edwin Rodriguez
        BO Vista Alegre
        Calle 1 #77
        Bayamon, PR 00957


        Elisamuel Cruz Ruiz
        Calle Babilonia DH2
        Bayamon, PR 00956


        Elizabeth Rosario
        Calle Aide Castro Condominio
        San Ciprian 2 # 107
        Carolina, PR 00985


        ESRT Empire State Building, LLC
        111 W. 33rd St
        12th Floor
        New York, NY 10120
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 12 of 16



        ESRT Empire State Building, LLC
        Attn: Maribel Diaz, Esq.
        Behar, Gutt & Glazer, P.A.
        1855 Griffin Rd., Ste A-350
        Ft Lauderdale, FL 33004


        Federal Communications Commission
        445 12th St SW
        Washington, DC 20554


        Fletcher, Heald & Hildreth, PLC
        Attn: Francisco R. Montero, Esq.
        1300 North 17th Street
        11th Floor
        Arlington, VA 22209


        Florida Department of Revenue
        Bankruptcy Unit
        PO Box 6668
        Tallahassee, FL 32314-6668


        Hytech Communications Inc.
        HY-49 Pedro Arcilagos
        Levittown, PR 00949


        Internal Revenue Service
        Centralized Insolvency Operation
        PO Box 7346
        Philadelphia, PA 19101-7346


        International Broadcast Corporation
        Calle Bori 1554
        San Juan, PR 00927


        Ismael Ortiz Aponte
        PO Box 25133
        San Juan, PR 00928


        Jose A. Perez
        HC2 Box 14784
        Carolina, PR 00987


        Jose M. Rolon
        P.O. Box 1547
        Dorado, PR 00646
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 13 of 16



        Juan R. Guzman
        Calle B #164
        Hill Brothers
        San Juan, PR 00924


        Juhan Carr Cruz
        # 1 Rio Piedras a Caguas
        Km. 20.2
        Guaynabo, PR 00926


        Manaen Lopez
        P.O. Box 9198
        Plaza Carolina
        Carolina, PR 00988


        Marcell Felipe, Esq.
        1001 Brickell Bay Dr.
        Suite 1504
        Miami, FL 33131


        Marcos Montalvo
        PO Box 628
        Penuelas, PR 00624


        Mays Ochoa
        Westgate Industrial Park
        Street 2 # 515
        Barrio Palmas Cata?o, PR 00962


        Mediafax
        PO Box 364505
        San Juan, PR 00936-4505


        Miami-Dade County Tax Collector
        Bankruptcy Paralegal Unit
        200 NW 2nd Ave.
        Suite 430
        Miami, FL 33128


        NEPTUNE MEDIA INC.
        P.O. BOX 191995
        San Juan, PR 00919-1995
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 14 of 16



        Okeechobee Television Corporation
        Attn: Etan Mark, Esq.
        80 SW 8th St.
        Miami, FL 33130


        Omar Alejandro Saul Romay
        Attn: Etan Mark, Esq.
        80 SW 8th St.
        Miami, FL 33130


        Ophira Corp
        RR 11 Box 5912
        HH Bo. Nuevo
        Bayamon, PR 00956


        Osnet Wireless Corp.
        P.O. Box 819
        Humacao, PR 00792-0819


        PBI Corp
        103 Ave. Universidad
        615.25, PR 00927


        Pedro Guzman
        Urbanization Caguas
        Norte Calle Belen B-6
        Caguas, PR 00725


        Priegues Reyes
        Frances Marie #774 Valle de Lajas
        Los Campos de Montehiedra
        San Juan, PR 00926


        Promisa, Inc.
        Attn: Etan Mark, Esq.
        80 SW 8th St.
        Miami, FL 33130


        Ruben A. Torres Munoz
        Los Faroles 500
        Carr 861 Box 203
        Bayamon, PR 00956


        Secretario de Hacienda DRN
        PO BOX 9024141
        SAN JUAN, PR 00902-4140
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 15 of 16



        Sherjan Broadcasting, Inc.
        Attn: Etan Mark, Esq.
        80 SW 8th St.
        Miami, FL 33130


        Staco Energy Products Co.
        301 Gaddis Blvd
        Dayton, OH 45403


        Telecenter, Inc.
        Attn: Etan Mark, Esq.
        80 SW 8th St.
        Miami, FL 33130


        Televicentro de Puerto Rico
        State RD 19
        KM 0.5
        Guaynabo, PR 00966


        The Power Place, Inc.
        P.O. Box 2060
        Carolina, PR 00984-2060


        U.S. Securities & Exchange Commission
        Office of Reorganization
        950 E. Paces Ferry Rd. NE
        Suite 900
        Atlanta, GA 30326-1382


        United States Trustee
        51 SW 1st Ave
        Miami, FL 33130


        US Attorney's Office
        99 NE 4th Street
        Miami, FL 33132


        Wanda M. Ojeda Torres
        Con. Coral Beach
        Apt 19-12
        Torre I Carolina, PR 00979


        Win Access Inc.
        P.O. Box 1939
        Luquillo, PR 00773
Case 19-16355-AJC   Doc 1   Filed 05/14/19   Page 16 of 16



        Zorimari LLC
        Industrial Minillas
        111 Suite 2
        Carr. 174
        Bayamon, PR 00959-1910
